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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 ISAIAH S. KYLES,
                                                             CIVIL COMPLAINT
              Plaintiff,

 v.                                                       CASE NO. 1:19-cv-03474

 ALLTRAN EDUCATION, INC.,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes ISAIAH S. KYLES (“Plaintiff”), by and through his attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of ALLTRAN EDUCATION, INC.

(“Defendant”), as follows:

                                       NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant resides within the

Northern District of Illinois, conducts business within the Northern District of Illinois, and a

substantial portion of the events or omissions giving rise to the claims occurred within the Northern

District of Illinois.



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                                                 PARTIES

       4. Plaintiff is a 24 year old natural “person,” as defined by 47 U.S.C. §153(39), residing in

Chicago, Illinois, which lies within the Northern District of Illinois.

       5. Defendant is a collection agency that provides “revenue cycle management and contact

services to support businesses in four main industries” – including the education industry.1 Upon

information and belief, Defendant is a subsidiary of URS Management Services, Inc. (“URS”),

and operates as URS’s debt collection arm focusing on the education industry. Defendant is a

corporation organized under the laws of the state of Illinois whose registered agent for process in

Illinois is C T Corporation System located at 208 South LaSalle Street, Suite 814, Chicago, Illinois.

       6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

       7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                FACTS SUPPORTING CAUSES OF ACTION

       8.    The instant action arises out of the nature of Defendant’s attempts to collect upon a past

due student loan debt (“subject debt”) said to be owed by Plaintiff.

       9.    The subject debt stems from student loans Plaintiff received several years ago in

connection with his education at the University of Illinois.

       10. After Plaintiff defaulted on his payments in connection with the subject debt, the debt was

subsequently transferred or otherwise turned over to Defendant for collection purposes.




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    http://alltran.com/

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    11. In approximately late spring/early summer 2018, Plaintiff entered into an agreement with

Defendant wherein Plaintiff would make $50.00 monthly payments towards the subject debt.

    12. Around that time, the balance of the subject debt totaled $4,590.32.

    13. This balance was comprised of $3,000.00 in principal, $240.77 in interest, $1,331.55 in

collection costs, and an additional $18.00 in fees and “other non-collection charges.”

    14. On or about July 26, 2018, Defendant sent Plaintiff a correspondence, outlining the then-

existing balance of the subject debt and confirming Plaintiff’s $50.00 payment to be made that

month.

    15. After making payments on the subject debt for months, Plaintiff attempted to work with

Defendant in an effort to negotiate a reduced balance.

    16. In response to Plaintiff’s efforts to negotiate, Defendant advised that Plaintiff need only

pay the $3,000.00 principal in order to consider the subject debt settled.

    17. However, after making this representation to Plaintiff, Defendant backtracked and told

Plaintiff that the only way he could reduce what he owes was for Plaintiff to seek approval from

the original creditor.

    18. Plaintiff subsequently reached out to the original creditor of the subject debt regarding

seeking a reduced balance.

    19. The original creditor advised Plaintiff that any decisions about seeking a reduced balance

had to be made by Defendant, not the original creditor.

    20. Plaintiff then spoke further with Defendant, during which time Plaintiff told Defendant

that the original creditor advised that Defendant was the entity that could approve a reduced

balance.

    21. Defendant reiterated that such approval had to come from the original creditor.



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   22. Plaintiff then offered to conference call in the original creditor during his call with

Defendant so that the parties could address the issue then.

   23. However, Defendant’s representative hung up the phone in response to Plaintiff’s

suggestion.

   24. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding his rights,

resulting in expenditure of assets.

   25. Plaintiff has been unfairly and unnecessarily misled as to his options to go about

addressing the subject debt as a result of Defendant’s conduct.

   26. Plaintiff has further suffered a violation of his federally protected interests given

Defendant’s false and misleading representations. Defendant’s conduct: misled and

misrepresented Plaintiff’s options to go about addressing the subject debt, misled Plaintiff as to

the nature of the role of the original creditor as it relates to the subject debt, and misled Plaintiff

as to Defendant role as it relates to the subject debt and how such role impacts its dealings with

Plaintiff.

             COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   27. Plaintiff repeats and realleges paragraphs 1 through 26 as though full set forth herein.

   28. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   29. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   30. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others.




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   31. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

         a. Violations of FDCPA § 1692e

   32. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   33. In addition, this section enumerates specific violations, such as:

           “The false representation of – the character, amount, or legal status of any debt.”
           15 U.S.C. § 1692e(2)(A).

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   34. Defendant violated § 1692e and e(10) when it falsely and deceptively represented that

Plaintiff could pay only the $3,000.00 principal of the subject debt in order to resolve the account.

Defendant’s representation was demonstrably false, as Defendant subsequently backtracked and

(falsely) informed Plaintiff that the original creditor would need to approve any reduction.

Defendant’s initial suggestion that Plaintiff need only pay the principal of the subject debt was a

deceptive and misleading representation designed to foster good will with Plaintiff, hoping such

good will would translate towards increased payments from Plaintiff.

   35. Defendant further violated § 1692e, e(2)(A), and e(10) when it falsely, deceptively, and

misleading informed Plaintiff that his ability to pay only the principal of the subject debt had to be

determined by the original creditor. The original creditor itself informed Plaintiff that Defendant

would be the entity that would approve such a reduction in the overall balance of the debt,

illustrating the falsity of Defendant’s representation. Defendant’s misrepresentation in this regard

was designed to compel Plaintiff to continue making his payments on the subject debt, while


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simultaneously seeking to maintain good will with Plaintiff by pinning its seeming inability to

negotiate a reduced balance on a different party.

        b. Violations of FDCPA § 1692f

   36. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   37. Defendant violated § 1692f when it unfairly misrepresented its own ability to offer Plaintiff

a reduced balance. By falsely representing that any approval for a reduced balance had to be made

by the original creditor, Defendant unfairly sought to compel Plaintiff to continue making his

payments to Defendant, lest Plaintiff become upset by the truth – that Defendant was unwilling to

offer Plaintiff a reduced balance. Fearing that any perceived unwillingness to negotiate would be

detrimental to its collection efforts, Defendant unconscionably obfuscated its ability to offer that

which Plaintiff sought.

   38. Defendant further violated §1692f when it unfairly refused to work with Plaintiff to clear

up the confusion created by its contradictory representations. It was unfair for Defendant to, after

making misrepresentations as to Plaintiff’s ability to seek a reduced judgment, refuse to work with

Plaintiff to go about clearing up the confusion created by its conduct. Rather than subject itself to

having to answer for its misrepresentations, Defendant unfairly hung up the phone on Plaintiff and

refused to help Plaintiff address his issues with Defendant’s collection efforts.

   39. As pled in paragraphs 24 through 26, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, ISAIAH S. KYLES, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

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   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: May 23, 2019                                 Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)                s/Taxiarchis Hatzidimitriadis
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